    Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 1 of 34




                UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF FLORIDA
                     GAINESVILLE DIVISION


 SHARON WRIGHT AUSTIN, et al.,

                   Plaintiffs,

             v.                           Case No.: 1:21-cv-00184-MW-GRJ

 UNIVERSITY OF FLORIDA
 BOARD OF TRUSTEES, et al.,

                   Defendants.



        DEFENDANTS’ MEMORANDUM IN OPPOSITION TO
     PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION


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       Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 2 of 34




                                        TABLE OF CONTENTS

TABLE OF AUTHORITIES .................................................................................... ii
PRELIMINARY INJUNCTION STANDARDS ......................................................1
ARGUMENT .............................................................................................................2
I.       PLAINTIFFS HAVE FAILED TO SHOW ACTUAL AND IMMINENT
         IRREPARABLE INJURY. ..............................................................................2
         A.       The Original Plaintiffs .......................................................................... 3
         B.       The New Plaintiffs................................................................................ 5
         C.       Plaintiffs’ Argument for Irreparable Harm Fails. ................................ 7
         D.       Plaintiffs’ Delay in Seeking a Preliminary Injunction
                  Undermines Their Claim of Irreparable Harm. .................................. 11
         E.       Plaintiffs Seek to Alter, Not Preserve, the Status Quo....................... 12
II.      PLAINTIFFS HAVE FAILED TO SHOW THAT THEY CLEARLY
         ARE LIKELY TO SUCCEED ON THE MERITS. ......................................14
         A.       This Court Lacks Jurisdiction. ........................................................... 14
                  1.       Mootness .................................................................................. 14
                  2.       Lack of Standing ...................................................................... 15
                  3.       Lack of Ripeness ...................................................................... 16
                  4.       12(b)(6) Arguments in Motion to Dismiss .............................. 16
         B.       Plaintiffs Have Not Clearly Established That They Are Likely
                  to Succeed on the Merits of Their First Amendment Claim. ............. 17
                  1.       Plaintiffs’ Unbridled Discretion Argument Fails. ................... 19
                  2.       Plaintiffs’ Viewpoint Discrimination Argument Fails. ........... 23
                  3.       Plaintiffs’ Overbreadth Argument Fails. ................................. 24
III.     The Remaining Preliminary Injunction Factors Do Not Support Relief.......26
CONCLUSION ........................................................................................................27
CERTIFICATION PURSUANT TO LOCAL RULE 7.1(F) ..................................29
CERTIFICATE OF SERVICE ................................................................................30
       Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 3 of 34




                                   TABLE OF AUTHORITIES

Cases

Barrett v. Walker County School District,
  872 F.3d 1209 (11th Cir. 2017) ............................................................. 7, 9, 15, 22

Bloedorn v. Grube, 631 F.3d 1218 (11th Cir. 2011) ...............................................19

Callahan v. U.S. Dep’t of HHS, 939 F.3d 1251 (11th Cir. 2019)..............................1
Cheshire Bridge Holdings, LLC v. City of Atlanta,
 15 F.4th 1362 (11th Cir. 2021) .............................................................................24

City of Lakewood v. Plain Dealer Publ’g Co., 486 U.S. 750 (1988) ............... 19, 22

Doe v. Valencia Coll., 903 F.3d 1220 (11th Cir. 2018).................................... 24, 25
FF Cosmetics FL, Inc. v. City of Miami Beach,
 866 F.3d 1290 (11th Cir. 2017) ..................................................................... 10, 24
Forsyth County v. Nationalist Movement, 505 U.S. 123 (1992) .............................21

Hand v. DeSantis, 946 F.3d 1272 (11th Cir. 2020) .......................................... 14, 15

Hoover v. Morales, 164 F.3d 221 (5th Cir. 1998) ................................ 10, 17, 18, 23
Isle of Dreams, LLC v. City of N. Bay Vill.,
   513 F. App’x 917 (11th Cir. 2013).........................................................................8
LaCroix v. Lee County, 819 Fed. App’x 839 (11th Cir. 2020) ................................15

Laird v. Tatum, 408 U.S. 1 (1972) .............................................................................8
Martinez v. Mathews, 544 F.2d 1233 (5th Cir. 1976)..............................................13

Motient Corp. v. Dondero, 529 F.3d 532 (5th Cir. 2008)....................................5, 14

Ne. Fla. Ch. of Ass’n of Gen. Contractors of Am. v. City of Jacksonville,
 896 F.2d 1283 (11th Cir. 1990) ............................................................................13

Nken v. Holder, 556 U.S. 418 (2009) ......................................................................26
Otto v. City of Boca Raton, 981 F.3d 854 (11th Cir. 2020) .....................................10

                                                       ii
       Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 4 of 34




                            TABLE OF AUTHORITIES (CONT’D)

Cases (cont’d)
Powers v. Sec’y, Fla. Dep’t of Corr., 691 F. App’x 581 (11th Cir. 2017) ....... 12, 13
Rankin v. McPherson, 483 U.S. 378 (1987) ............................................................19

Siegel v. LePore, 234 F.3d 1163 (11th Cir. 2000) (en banc) ...................... 1, 7, 9, 13

Speech First, Inc. v. Killeen, 968 F.3d 628 (7th Cir. 2020).....................................23

Speech First, Inc. v. Schlissel, 939 F.3d 756 (6th Cir. 2019) ..................................23
Study Edge, LLC v. Skoolers Tutoring Ctr., LLC,
  No. 1:17cv76-MW/GRJ, 2017 WL 6994563
  (N.D. Fla. Dec. 8, 2017) ........................................................................ 1, 5, 12, 13

Swain v. Junior, 961 F.3d 1276 (11th Cir. 2020) ................................................2, 26

Tracy v. Fla. Atl. Univ. Bd. of Trustees, 980 F.3d 799 (11th Cir. 2020) ......... passim

United States v. Nat’l Treasury Emps. Union, 513 U.S. 454 (1995).......................18
Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7 (2008) .........................................2

Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244 (11th Cir. 2016) .............. 1, 11, 12

Other Authorities

BLACK’S LAW DICTIONARY (11th ed. 2009) ..............................................................2




                                                      iii
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 5 of 34




      Defendants—the University of Florida (“UF”) Board of Trustees, President

Kent Fuchs, Provost Joseph Glover, and Dean Laura Rosenbury—hereby oppose

Plaintiffs’ motion for a preliminary injunction (Doc. 30).

                 PRELIMINARY INJUNCTION STANDARDS
      Plaintiffs face “a tough road in establishing four prerequisites to obtain a

preliminary injunction.” Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244, 1248

(11th Cir. 2016). “Such relief is appropriate if—but only if—the movant shows

(1) substantial likelihood of success on the merits; (2) irreparable injury will be

suffered unless the injunction issues; (3) the threatened injury to the movant

outweighs whatever damage the proposed injunction may cause the opposing party;

and (4) if issued, the injunction would not be adverse to the public interest.”

Callahan v. U.S. Dep’t of HHS, 939 F.3d 1251, 1257 (11th Cir. 2019) (quotation

marks omitted). As both your honor and the Eleventh Circuit have emphasized, “A

preliminary injunction should not be granted unless the movant clearly carries its

burden of persuasion on each of these prerequisites.” Study Edge, LLC v. Skoolers

Tutoring Ctr., LLC, No. 1:17cv76-MW/GRJ, 2017 WL 6994563, at *1 (N.D. Fla.

Dec. 8, 2017) (emphases in original) (quotation marks omitted); see also Siegel v.

LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (en banc) (movant must have “clearly

established” all four factors).

      As shown below, Plaintiffs have not clearly carried their burden. In particular,
         Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 6 of 34




they have fallen short on the two most important factors, irreparable harm and likely

merits success.

                                      ARGUMENT

I.       PLAINTIFFS HAVE FAILED TO SHOW ACTUAL AND IMMINENT
         IRREPARABLE INJURY.

         The irreparable injury test is demanding: “As we have emphasized on many

occasions, the asserted irreparable injury must be neither remote nor speculative, but

actual and imminent.” Swain v. Junior, 961 F.3d 1276, 1292 (11th Cir. 2020). A

mere possibility, or fear, of harm is not enough. See Winter v. Nat. Res. Def. Council,

Inc., 555 U.S. 7, 22 (2008) (“Issuing a preliminary injunction based only on a

possibility of irreparable harm is inconsistent with our characterization of injunctive

relief as an extraordinary remedy that may only be awarded upon a clear showing

that the plaintiff is entitled to such relief.”). Nor does it suffice for Plaintiffs to

contend that UF’s revised policy “poses a danger” to their rights “in the abstract.”

Swain, 961 F.3d at 1292.

         Plaintiffs fail to show that, absent an injunction, they will suffer “actual” and

“imminent” injury.1 Indeed, they fail to show that they will suffer any injury at all.




   “Actual” is defined as: existing in fact; real. “Imminent” means: threatening to
     1

occur immediately; dangerously impending; about to take place. See BLACK’S LAW
DICTIONARY (11th ed. 2009).
                                             2
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 7 of 34




      A.     The Original Plaintiffs

      UF approved the requests of original Plaintiffs Austin, McDonald, and Smith

to act as paid expert witnesses in litigation against the State of Florida. See Fuller

Decl. ¶ 11 (Doc. 23-1 at pg. 2); Ex. 7 to Fuller Decl. (Doc. 23-1 at pg. 206); Ex. 8 to

Fuller Decl. (Doc. 23-1 at pg. 208); see also Docs. 31-20, 31-22 & 31-23 (approval

notices) (exhibits to Davis Decl.). UF then significantly revised its conflicts policy.

See Fuller Decl. ¶ 17 (Doc. 23-1 at pg. 3) & Exs. 11 & 12 (Doc. 23-1 at pp. 219–

23, pp. 225–26).

      Under the revised policy, there is now a “strong presumption” that a faculty

member may testify as an expert in litigation to which the State is party, regardless

of the substance of the faculty member’s testimony and regardless of whether the

faculty member is compensated for her testimony. Fuller Decl. ¶ 17 (Doc. 23-1 at

pg. 3) & Ex. 11 (Doc. 23-1 at pg. 225). The revised policy imposes a “heavy burden

on the university to overcome the strong presumption” that a faculty member may

testify as an expert, such that a request to do so may be denied only when “clear and

convincing evidence” establishes that such testimony would “conflict with an

important and particularized interest of the university, which the university must set

forth and explain in writing.” Fuller Decl. ¶ 17 (Doc. 23-1 at pg. 3) & Ex. 11 (Doc.

23-1 at pp. 225–26).

      UF’s decisions to grant the original Plaintiffs’ requests and to revise its


                                          3
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 8 of 34




conflicts policy to make it much more favorable to faculty members who wish to act

as experts in litigation—decisions that UF made even before Plaintiffs filed their

first complaint, see Fuller Decl. ¶ 12 (Doc. 23-1 at pg. 3)—have significantly altered

the landscape. While it might have made sense for the original Plaintiffs to move

for an injunction before UF decided to grant their requests and revise its policy, they

did not do so. But moving for such relief in the current posture, after UF made

decisions very favorable to them, is curious to say the least.

      The past controversy concerning the original Plaintiffs has been overtaken by

events—UF approved their requests. See Austin Decl. ¶ 14 (“I am able to testify as

an expert witness in the SB 90 litigation”) (Doc. 30-4); McDonald Decl. ¶ 11 (UF

“reversed its denials of my request to participate in the SB 90 litigation”) (Doc. 30-

5); Smith Decl. ¶ 13 (“I am able to testify as an expert in this particular case”) (Doc.

30-6). An injunction now would have no point. There is no need or warrant for one.

      The original Plaintiffs do not identify in their declarations (Docs. 30-4, 30-5,

30-6) any pending requests to perform outside activities. Indeed, UF has no pending

requests from them. See Second Fuller Decl. ¶ 7.2 Nor do they identify any actual,

specific outside activity opportunities, now available to them, that they contend UF

will not approve. Even if they had pending requests or could point to current outside



 2
    The second Fuller declaration accompanies this brief. The first Fuller declaration,
filed with Defendants’ motion to dismiss, is cited herein as “Fuller Decl.”
                                           4
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 9 of 34




work opportunities that they think UF would deny, that would not be enough to show

irreparable injury. But they have not even made that showing.

      In sum, they have not shown that, without an injunction, they will suffer any

harm, much less actual, imminent, irreparable harm. See Motient Corp. v. Dondero,

529 F.3d 532, 537 (5th Cir. 2008) (“There has been no showing that there will be

any future harm, let alone irreparable harm.”). The original Plaintiffs have not

“clearly carrie[d]” their burden to demonstrate irreparable injury in the form of

actual and imminent harm. Study Edge, 2017 WL 6994563, at *1.

      B.     The New Plaintiffs

      The amended complaint added Plaintiffs Nunn, Reid, and Goldhagen. They

do not require or deserve injunctive relief any more than the original Plaintiffs.

      UF granted, back in July 2020, the requests made by Professor Nunn and

Professor Reid to join an amici brief in a case challenging state law. See Docs. 30-

1, 30-2. On July 12, 2020, Dean Rosenbury sent an email to Nunn advising him that

the amici brief could include his UF affiliation so long as the brief stated that the

affiliation was for informational purposes only. See Second Fuller Decl. ¶ 3; Exs. 2

to Second Fuller Decl. The approval notices sent by UF to Nunn and Reid through

the UFOLIO system that same day said the same thing. See Second Fuller Decl. ¶ 5;

Exs. 3 & 4 to Second Fuller Decl. This continues to be UF policy. See Second

Fuller Decl. ¶ 4. Thus, in the future, as in the past, if Plaintiffs or any faculty member


                                            5
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 10 of 34




wish to perform approved outside activity by lending their names to an amici brief,

the brief may identify them as UF professors. Like the original Plaintiffs, Nunn and

Reid have not shown any irreparable injury requiring preliminary injunctive relief.

They have failed to show that, without an injunction, they will suffer harm both

actual and imminent. Nunn and Reid have no pending outside activity requests. See

Second Fuller Decl. ¶ 7. The newly relaxed conflicts policy applies to them.

      Finally, we come to Goldhagen. He states (Doc. 30-3) that his outside activity

request, submitted in August 2021, was denied. Id. ¶¶ 7–8.3 “Eager to participate”

in the mask mandate case, Goldhagen “urged” the attorney who had sought his

expert services to subpoena his testimony. Id. ¶ 9. “I understood that, if he did so,

I would be required to testify,” notwithstanding UF’s denial. Id. But the case

“moved to quickly” and the attorney “sought other expert witnesses.” Id. By this

account, the opportunity to act as an expert in that case is no longer available to

Goldhagen. An injunction would do him no good. The ship has sailed. Plaintiffs

make no argument to the contrary.

      As Defendants explained in their motion to dismiss, Goldhagen recently told

a very different story to a news organization. See Mot. to Dismiss 12 (Doc. 23). In

a videotaped interview, Goldhagen told CBS4 News that he did testify, despite UF’s



 3
    UF subsequently approved his request on November 5, after it decided to revise
its policy. See Ex. 26 to Davis Decl. (Doc. 31-26).
                                         6
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 11 of 34




denial of his request. “The decision to not allow me to participate was not one that

I personally or professionally could sustain,” Goldhagen stated on video. See Ex.

10 to Fuller Decl. (Doc. 23-1 at pg. 216). If Goldhagen told the truth when he said

that he did not “sustain” UF’s decision, but participated anyway, he cannot claim

that his speech was prevented. But whether or not he spoke in the past, he has failed

to show that his speech is about to be curtailed in the immediate future.

      In sum, neither the original Plaintiffs nor the new Plaintiffs have “clearly

established” actual and imminent irreparable injury. Siegel, 234 F.3d at 1176.

      C.     Plaintiffs’ Argument for Irreparable Harm Fails.

      Plaintiffs offer only a brief irreparable harm argument on pages 32–33 of their

motion. They rely on Barrett v. Walker County School District, 872 F.3d 1209 (11th

Cir. 2017), but Barrett does not save the day for them. In Barrett, the district court,

after granting summary judgment to Barrett, entered a permanent (not preliminary)

injunction. The Eleventh Circuit held: “Barrett suffered an irreparable injury. His

right to speak at the February 17 meeting was violated and his right to speak at future

meetings was chilled and could be prevented altogether under the Policy.” Id. at

1229 (citing Siegel, 234 F.3d at 1178).

      The instant case is very different from Barrett. Here, the original Plaintiffs

were allowed to speak under the old UF policy; UF granted their requests. And since

then UF has adopted a significantly revised policy. Two of the new Plaintiffs, Nunn


                                          7
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 12 of 34




and Reid, were also allowed to speak, more than a year ago. It is not clear whether

Goldhagen spoke or not; according to his declaration he did not, but according to his

videotaped interview he did. In any event, that was under the old policy. The much

relaxed new policy is here now. The new UF policy is nothing like the school board

policy in Barrett, which gave “unbridled discretion” to the board and was never

revised. Far from conferring unbridled discretion, the revised UF policy enacts a

strong presumption in favor of permitting faculty members to work as paid experts

against the State. Furthermore, none of the Plaintiffs has a pending outside activity

request or has identified an actual and specific outside activity opportunity that is

now available to them. And none of the Plaintiffs contend, or could reasonably

contend, that he or she has been chilled by the revised policy. “‘Allegations of a

subjective chill’ alone are not enough.” Isle of Dreams, LLC v. City of N. Bay Vill.,

513 F. App’x 917, 920 (11th Cir. 2013) (quoting Laird v. Tatum, 408 U.S. 1, 13–14

(1972)).4   Plaintiffs Goldhagen and McDonald submitted new outside activity

requests on November 16 and December 7, respectively, and UF approved those

requests. See Second Fuller Decl. ¶¶ 9–10. Again, the new policy sets a strong

presumption in favor of faculty members testifying as experts. If, hypothetically,



 4
   Nunn alleges that he declined an invitation to join an amicus brief on November
7, 2021. But that was before UF adopted its new policy on November 23. See Ex.
12 to Fuller Decl. (Doc. 23-1 at pg. 225). None of the Plaintiffs claims to have
turned down outside work after November 23.
                                         8
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 13 of 34




UF in the future denied an outside activity request under the new policy, that would

be the time for the affected faculty member to come to this Court. Now is not the

time.

        The Eleventh Circuit in Barrett cited Siegel, and only Siegel, in support of its

holding that “Barrett suffered an irreparable injury.” Barrett, 872 F.3d at 1229

(citing Siegel, 234 F.3d at 1178). Here’s what Siegel said: “The only areas of

constitutional jurisprudence where we have said that an on-going violation may be

presumed to cause irreparable injury involve the right of privacy and certain First

Amendment claims establishing an imminent likelihood that pure speech will be

chilled or prevented altogether.” 234 F.3d at 1178. So Plaintiffs have two problems.

First, there is no “on-going violation” of here. Plaintiffs have not identified any

speaking opportunity, now open to them, that UF has said they must pass up.

Second, they have not shown an “imminent likelihood” that their speech “will be

chilled or prevented altogether.” Id.5 On the contrary, UF’s revised conflicts policy

creates a strong presumption that they may work as paid experts in litigation against

the State. And both Goldhagen and McDonald filed new outside activity requests

in, respectively, November and December, 2021. No chilling there. UF approved

the requests. See Second Fuller Decl. ¶¶ 9–10.



 5
  Again, “imminent” is defined as threatening to occur immediately; dangerously
impending; about to take place. See supra note 1.
                                            9
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 14 of 34




      Plaintiffs also cite FF Cosmetics FL, Inc. v. City of Miami Beach, 866 F.3d

1290 (11th Cir. 2017), and Otto v. City of Boca Raton, 981 F.3d 854 (11th Cir. 2020).

Mot. 33 (Doc. 30). But those cases just say that “an ongoing violation of the First

Amendment constitutes an irreparable injury.” FF Cosmetics FL, 866 F.3d at 1298;

Otto, 981 F.3d at 870 (quoting FF Cosmetics FL). And as just explained, there is no

such “ongoing violation” here.

      It is telling that Plaintiffs do not cite Hoover v. Morales, 164 F.3d 221 (5th

Cir. 1998), in their irreparable harm argument. In Hoover, Texas A&M professors

challenged a policy that “prohibits university professors from taking employment as

consultants or expert witnesses when doing so would create a conflict with the

interests of the State.” Id. at 223. A legislative rider, also challenged, denied

payment of salary to professors violating the policy. The professors obtained a TRO

and a preliminary injunction. As to irreparable harm, they argued that “State

enforcement of the rider and policy threatened to block [them] from acting as expert

witnesses in major litigation brought by the State against the tobacco industry, whose

trial was to start in only months.” Brief of Appellees Dr. Hoover et al. at 3, Hoover

v. Morales, No. 97-50734 (5th Cir.), attached as Ex. 5 to Second Fuller Decl. The

professors had already “been retained” as experts in that litigation. Hoover, 164

F.3d at 224 & n.1.

      The Plaintiffs here are not in the same boat as the Texas A&M professors, and

                                         10
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 15 of 34




they have not made a comparable showing of alleged irreparable harm. UF has not

blocked, or threatened to block, Plaintiffs from working as experts in a case about to

go to trial. Nor has UF threatened them with a loss of pay.

      Assuming arguendo that the Fifth Circuit correctly held that the Texas A&M

professors proved irreparable harm, the showing made by the Plaintiffs here falls far

short of that made by the professors in Hoover.

      D.     Plaintiffs’ Delay in Seeking a Preliminary Injunction Undermines
             Their Claim of Irreparable Harm.

      In this Circuit, “a party’s failure to act with speed or urgency in moving for a

preliminary injunction necessarily undermines a finding of irreparable harm.”

Wreal, 840 F.3d at 1248. Here, the one month delay between the commencement of

this action and the filing of the motion for preliminary injunction provides further

support for the conclusion that Plaintiffs are not facing irreparable injury. If they

were about to suffer actual and imminent harm, they would have moved faster.

      Plaintiffs filed their complaint on November 5, 2021, after UF announced its

decisions to grant the original Plaintiffs’ outside activity requests and to revise its

policy. See Doc. 1. They amended their complaint ten days later, on November 15.

See Doc. 19. They filed their preliminary injunction motion on December 3, nearly

a month after commencing this action. See Doc. 30. By that time, Defendants had

already filed their motion to dismiss, two days earlier, on December 1. See Doc. 23.

      As the Eleventh Circuit explained in Wreal, “the very idea of a preliminary

                                          11
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 16 of 34




injunction is premised on the need for speedy and urgent action.” 840 F.3d at 1248

(emphasis in original). Plaintiffs’ four-week delay in seeking an injunction suggests

that the alleged injury here is not irreparable, i.e., actual and imminent. See Study

Edge, 2017 WL 6994563, at *5 (“The long delay in seeking a preliminary injunction

indicates to this Court that speedy and urgent action was not needed here—and that

no irreparable harm was imminent.”). Since the Plaintiffs evidently did not see a

need for speed, neither should this Court.

      To be clear, Defendants are not arguing that Plaintiffs dilly-dallied for so long

that their motion ought to be denied on that basis alone. Cf. Wreal, 840 F.3d at 1248

(“A delay in seeking a preliminary injunction of even only a few months—though

not necessarily fatal—militates against a finding of irreparable harm.”). But it is fair

to say that their “failure to act with speed or urgency in moving for a preliminary

injunction necessarily undermines a finding of irreparable harm.” Id.

      E.     Plaintiffs Seek to Alter, Not Preserve, the Status Quo.

      Enough has been said to reject Plaintiffs’ assertion of irreparable injury. But

one last point is in order. Plaintiffs’ motion seeks to alter, not preserve, the status

quo. That fact adds even more weight to the burden they must carry here.

      “The chief function of a preliminary injunction is to preserve the status quo

until the merits of the controversy can be fully and fairly adjudicated.” Powers v.

Sec’y, Fla. Dep’t of Corr., 691 F. App’x 581, 583 (11th Cir. 2017) (quoting Ne. Fla.


                                          12
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 17 of 34




Ch. of Ass’n of Gen. Contractors of Am. v. City of Jacksonville, 896 F.2d 1283, 1284

(11th Cir. 1990)). Even before Plaintiffs filed suit, UF granted the original Plaintiffs’

requests and decided to revise its conflicts policy. Before Plaintiffs moved for an

injunction, UF adopted the revised policy.

      Plaintiffs ask this Court to change, not maintain, the status quo by enjoining

Defendants from enforcing the revised policy. See Mot. 34 (Doc. 30). Such relief

is “particularly disfavored” under both Eleventh Circuit and binding Fifth Circuit

precedents. See Powers, 691 F. App’x at 583 (“Mandatory preliminary relief, which

goes well beyond simply maintaining the status quo[,] is particularly disfavored, and

should not be issued unless the facts and law clearly favor the moving party.”)

(quoting Martinez v. Mathews, 544 F.2d 1233, 1243 (5th Cir. 1976)). Here, the facts

and the law clearly disfavor the Plaintiffs.

                                       *   *    *

      Plaintiffs have failed to “clearly carr[y]” their burden to show they will suffer

actual and imminent irreparable harm absent an injunction, and thus the Court need

go no further. Study Edge, 2017 WL 6994563, at *1. Because they failed to put the

irreparable injury factor in the win column, their proposed injunction should be

denied “on that basis alone.” Siegel, 234 F.3d at 1176.




                                           13
      Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 18 of 34




II.    PLAINTIFFS HAVE FAILED TO SHOW THAT THEY CLEARLY
       ARE LIKELY TO SUCCEED ON THE MERITS.

       A.    This Court Lacks Jurisdiction.

       As explained in Defendants’ motion to dismiss, this Court lacks jurisdiction

for three reasons—mootness and lack of standing and ripeness. See Mot. to Dismiss

15–26 (Doc. 23). Plaintiffs cannot succeed on the merits without jurisdiction.

Defendants hereby incorporate the arguments made in their motion to dismiss.

             1.    Mootness

       This case is moot, for two reasons. First, UF granted Plaintiffs’ requests.

Second, UF revised its policy. As to the first reason, Plaintiff got what they wanted.

That makes this matter moot. See Motient, 529 F.3d at 538 (“[T]hat fight is over.

Motient won.”). UF approved all of the Plaintiffs’ requests, including Goldhagen’s

requests from August and September, 2021. See Second Fuller Decl. ¶ 8. UF also

approved recent requests by Goldhagen and McDonald in November and December,

2021. Id. ¶¶ 9–10. Accordingly, as in Motient, “the possibility of any irreparable

harm [is] speculative at best.” 529 F.3d at 538. “Any ruling by this or any other

court would merely be a prediction of what the result should be if certain events were

to occur at some unspecified future date.” Id.

       As to the second reason, UF’s revised policy includes a strong presumption in

favor of faculty members acting as experts in litigation against the State of Florida.

Hand v. DeSantis, 946 F.3d 1272 (11th Cir. 2020), is instructive here. The Eleventh
                                         14
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 19 of 34




Circuit held in Hand that the case was moot because “[i]n light of the changes to

Florida’s voter re-enfranchisement system since this case began … no plaintiff

requires relief from Florida’s former re-enfranchisement system.” Id. at 1275. So

too here. UF’s policy has changed. The old policy is no more. The kerfuffle over

the old policy has ended. There is no longer “an active controversy.” Id. The

“voluntary cessation” and “capable of repetition, yet evading review” exceptions to

the mootness doctrine do not apply here. See Mot. to Dismiss 15–20 (Doc. 23).

             2.     Lack of Standing

      Plaintiffs lack standing to seek an injunction. See Mot. to Dismiss 20–23

(Doc. 23). In LaCroix v. Lee County, 819 Fed. App’x 839 (11th Cir. 2020), plaintiff

LaCroix challenged on First Amendment grounds a county permitting ordinance that

allegedly granted unbridled discretion to county officials and was overbroad. The

Eleventh Circuit held that LaCroix lacked standing to seek injunctive relief. It

explained that “LaCroix has failed to provide the location of his future free speech

activity with the requisite specificity to demonstrate a substantial likelihood of future

injury.” Id. at 843. The Court distinguished Barrett on the ground that “unlike the

plaintiff in Barrett, LaCroix has not shown that he is ‘subject to’ or ‘imminently will

be subject to’ the Permitting Ordinance.” Id. at 843–44 (quoting Barrett, 872 F.3d

at 1220). Here, Plaintiffs have the same problem as LaCroix. They have not showed

that they have actual and specific outside activity opportunities available to them

                                           15
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 20 of 34




that would likely be denied under UF’s revised policy regarding participation in

litigation adverse to the State. LaCroix, not Barrett, controls here.

             3.     Lack of Ripeness

      Plaintiffs’ challenge to the revised conflicts policy is not ripe for court review.

See Mot. to Dismiss 23–26 (Doc. 23). UF’s revised policy has not even been applied

to most of the Plaintiffs. In November and December, 2021, UF approved, under

the revised policy, new outside activity requests made by Goldhagen and McDonald.

See Second Fuller Decl. ¶¶ 9–10. UF also approved, under the revised policy, three

old requests made by Goldhagen. Id. ¶ 8. Unless and until UF denies a new request

made by one of the Plaintiffs under the revised policy, any challenge by them to the

revised policy is not ripe. See Tracy v. Fla. Atl. Univ. Bd. of Trustees, 980 F.3d 799,

810 n.3 (11th Cir. 2020) (holding that professor’s “challenge to the University’s

application of the Policy’s ‘conflict of interest’ definition” was unripe).

             4.     12(b)(6) Arguments in Motion to Dismiss

      The claims of the original Plaintiffs cannot succeed for the additional reasons

that (1) their claims are barred by their failure to file grievances under the collective

bargaining agreement (“CBA”), and (2) they waived their First Amendment claims.

See Mot. to Dismiss 26–33 (Doc. 23). Defendants incorporate both arguments here.

See also Tracy, 980 F.3d at 805 n.2 (explaining that the district court “ruled that

Plaintiff had waived his constitutional challenge to the Policy because, as a former

                                           16
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 21 of 34




union president and as a union member, Plaintiff had accepted the CBA’s terms, one

of which included the policy that Plaintiff now challenges”).

      B.     Plaintiffs Have Not Clearly Established That They Are Likely to
             Succeed on the Merits of Their First Amendment Claim.

      This Court need not reach the merits, but if it does, Plaintiffs have failed to

clearly carry their burden to show a substantial likelihood of success on the merits.

Because Plaintiffs must clearly carry this burden, they must do more than win the

game. They must beat the point spread. This they cannot do.

      The two most pertinent authorities with respect to this case would seem to be

Tracy and Hoover. In Tracy, the Eleventh Circuit rejected a university professor’s

First Amendment attacks on his school’s conflicts policy. The professor argued that

the policy violated the unbridled discretion doctrine and was a prior restraint,

content-based, overbroad, and vague. The Court rejected all of his attacks. Tracy,

980 F.3d at 805–10. More to come on Tracy, infra.

      In Hoover, the Fifth Circuit affirmed a preliminary injunction in a case that

involved a Texas A&M policy that had “the effect of prohibiting state employees

from acting as consultants or expert witnesses on behalf of parties opposing the State

in litigation.” Hoover, 164 F.3d at 223 (emphasis added). But UF’s policy flips the

script. Its policy is nearly the opposite of the Texas A&M policy. UF’s policy does

not prohibit faculty members from acting as experts in litigation against the State.



                                         17
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 22 of 34




On the contrary, under UF’s policy there is a strong presumption in favor of allowing

such outside activity.

      Even as to the very different Texas A&M policy, the First Amendment issues

were not cut and dried. Concurring in the result only, Judge DeMoss wrote:

             In my view this case raises a serious and fundamental issue
             not previously decided by the United States Supreme
             Court or this Court. That is, whether the State of Texas or
             one of its state universities can prohibit a state employee
             or a full-time professor at the university from serving as a
             compensated expert witness against the state when the
             subject matter of his testimony and the basis of his
             qualifications as an expert are directly connected with, and
             are the product of, his employment by the state. That issue
             was expressly left undecided by the Supreme Court
             in National Treasury Employees ….

Id. at 228 (citing United States v. Nat’l Treasury Emps. Union, 513 U.S. 454 (1995)).

      The instant case, unlike the NTEU case referenced by Judge DeMoss, is not

one in which “the content of [Plaintiffs’] messages has nothing to do with their jobs.”

NTEU, 513 U.S. at 465. In fact, Plaintiffs’ outside expert witness work has a lot to

do with their UF employment. Plaintiffs are full-time UF faculty members who

want, on the side, to take part in litigation against the State of Florida, their employer.

They want to deploy, against their employer, expertise and reputations developed, at

least in part, from their employment at UF and the resources and opportunities UF

makes available to them. UF agreed that the Plaintiffs may assist or support parties

and attorneys suing the State. But it is not clear they had a First Amendment right

                                            18
    Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 23 of 34




to do this while working for UF. As Justice Scalia said in a somewhat different

context, “no law enforcement agency is required by the First Amendment to permit

one of its employees to ‘ride with the cops and cheer for the robbers.’” Rankin v.

McPherson, 483 U.S. 378, 394 (1987) (dissenting). In the context of this case, it

may be said that no UF employee has a constitutional right to work for the Gator

and feed their employer to one. Thus, Plaintiffs have not clearly established that

UF’s revised conflicts policy, with its strong presumption in favor of allowing

faculty members to work as experts, violates the First Amendment.

      The specific First Amendment theories advanced by Plaintiffs also fail, as

shown next.

              1.   Plaintiffs’ Unbridled Discretion Argument Fails.

      “Under the [unbridled-discretion] doctrine, a licensing scheme that ‘allegedly

vests unbridled discretion in a government official over whether to permit or deny

expressive activity’ can be challenged as facially unconstitutional.” Tracy, 980 F.3d

at 809 (quoting City of Lakewood v. Plain Dealer Publ’g Co., 486 U.S. 750, 769–70

(1988)). But permit requirements pass muster if they “contain narrowly drawn,

reasonable, and definite standards to guide the official’s decision.” Id. (quoting

Bloedorn v. Grube, 631 F.3d 1218, 1236 (11th Cir. 2011)). Here, Plaintiffs’

unbridled discretion argument (Mot. 17–20) fails for two reasons.

      First, the argument fails for the same reason that the same argument failed in

                                         19
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 24 of 34




Tracy—it is “purely speculative.” Tracy, 980 F.3d at 810. The Eleventh Circuit

rejected Professor Tracy’s argument that FAU’s conflicts policy “operates as a prior

restraint on speech that is unconstitutional under the unbridled-discretion doctrine.”

Id. at 809. It do so because his “argument suffer[ed] from a critical defect”—his

“failure to identify even a single instance in which the University has determined

that an outside speech activity constitutes a prohibited ‘conflict of interest.’” Id. So

too here. UF revised its policy on November 23, 2021, and Plaintiffs have not

identified one instance in which UF has applied the revised policy to prohibit a

faculty member from testifying as an expert or joining an amicus brief. Like Tracy’s

argument, Plaintiffs’ argument here is “purely speculative.” Id. at 810.

      Second, Plaintiffs’ argument fails because UF’s conflicts policy provides

appropriate standards to guide the decision making of UF officials. UF officials do

not have unbridled discretion. UF’s policy states that a conflict of interest “occurs

when a University Employee’s financial, professional, commercial or personal

interests or activities outside of the University affects, or appears to affect, their

professional judgment or obligations to the University.” Ex. 1 to Second Fuller

Decl., Policy on Conflicts ¶ 3. Comments, including to the media, are not considered

outside activities when made in a faculty member’s individual capacity. See Ex. 11

to Fuller Decl. (Doc. 23-1 at pg. 221). Furthermore, the revised policy “[e]stablishes

a strong presumption that the university will approve faculty or staff requests to

                                          20
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 25 of 34




testify as expert witnesses, in their capacities as private citizens, in all litigation in

which the State of Florida is a party.” Id. The revised policy “[i]mposes a heavy

burden on the university to overcome the strong presumption.” Id. The presumption

is overcome “only when clear and convincing evidence establishes that such

testimony would conflict with an important and particularized interest of the

university, which the university must set forth and explain in writing.” Id. at pp.

221–22. The revised policy also allows a requester to appeal a denial. Id. at pg. 223.

      These standards and procedures stand in stark contrast to the policies

challenged in the cases on which Plaintiffs rely. Forsyth County v. Nationalist

Movement, 505 U.S. 123 (1992), for example, differs markedly from this case. In

that case the Supreme Court reviewed a county ordinance that authorized a county

administrator to charge a permit fee. Holding that the ordinance violated the First

Amendment by “vesting … unbridled discretion in a government official,” the

Supreme Court noted that “[t]he decision how much to charge … is left to the whim

of the administrator”; “[t]here are no articulated standards either in the ordinance or

in the county’s established practice”; “[t]he administrator is not required to rely on

any objective factors”; and the “decision is unreviewable.” Id. at 133. Not so here.

As shown above, Plaintiffs challenge a conflicts policy that sets forth the review

standards, includes a presumption in favor of approving requests, and permits an

appeals process. Forsyth shows the weakness of Plaintiffs’ claim.

                                           21
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 26 of 34




       The same is true of City of Lakewood, where the Supreme Court reviewed a

city ordinance authorizing the mayor to grant or deny permits for newsracks under

any terms that the mayor “deemed necessary and reasonable.” 486 U.S. at 769.

Striking down the ordinance, the Court noted that the mayor could simply deny the

permit by stating that “it is not in the public interest” or could grant the permit and

then place “the newsrack … in an inaccessible location without providing any

explanation whatever.” Id. That fundamentally differs from the policy Plaintiffs

challenge, which requires that any denials be supported by specific reasoning and

sufficient detail.

       Plaintiffs’ reliance on Barrett fares no better, as that case involved a regulation

requiring board of education approval before a member may speak at a board

meeting. 872 F.3d at 1214. Under the regulation, a member of the public had to

obtain approval at least one week before the board meeting, but “the Board

completely control[ed] the timing of a step at the beginning of the process.” Id.

Thus, the board could “drag[ ] its feet in completing this step” and the “member of

the public cannot finish the rest of the steps in time to be permitted to speak.” Id.

In holding that this regulation violated the First Amendment, the Eleventh Circuit

focused on the timing, id. at 1212, and the county’s ability to “control the clock” to

its advantage, id. at 1214.

       Here, unlike in Barrett, there is no evidence that UF has ever timed its

                                           22
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 27 of 34




decisions to run out the clock on outside activity requests. Plaintiffs do not contend

that any of UF’s past decisions on their outside activity requests under the old policy

came too late, let alone that UF dragged its feet purposefully. For example, UF acted

in one day on Goldhagen’s request to testify as an expert. He submitted his request

on August 11, 2021, and it was denied on August 12. See Doc. 31-1. And UF

approved McDonald’s most recent request, submitted on December 7, 2021, to

perform legal consulting work in only three days. See Second Fuller Decl. ¶ 10. UF

officials are entitled to a presumption that they will in good faith do their best to

process outside activity requests in a timely manner. See Speech First, Inc. v.

Killeen, 968 F.3d 628, 646 (7th Cir. 2020) (“The University is a public entity and an

arm of the state government of Illinois, and therefore receives the presumption that

it acts in good faith.”); Speech First, Inc. v. Schlissel, 939 F.3d 756, 768 (6th Cir.

2019) (same).

             2.     Plaintiffs’ Viewpoint Discrimination Argument Fails.

      Plaintiffs’ argument that the policy is a viewpoint-based prior restraint (Mot.

20–22) lacks merit. Plaintiffs cite Hoover, but that case does not help them. Hoover

involved a university policy “prohibiting state employees from acting as consultants

or expert witnesses on behalf of parties opposing the State in litigation.” 164 F.3d

at 223 (emphasis added). UF’s revised policy does not prohibit such outside work.

Indeed, the policy applies a strong presumption in favor of allowing such work.

                                          23
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 28 of 34




Significantly, the presumption expressly applies to “all litigation in which the State

of Florida is a party, regardless of the viewpoint of the faculty or staff member’s

testimony.” Ex. 11 to Fuller Decl. (Doc. 23-1 at pg. 221) (emphasis added).

Furthermore, Plaintiffs have not identified any instance in which UF has applied the

newly revised policy to discriminate against any viewpoint. UF granted all of the

Plaintiffs’ requests under either the old policy or the new policy.

             3.     Plaintiffs’ Overbreadth Argument Fails.

      Plaintiffs argue (Mot. 22–25) that UF’s policy is facially overbroad. It is not.

“A facial-overbreadth challenge requires a showing that the statute punishes a

substantial amount of protected free speech.” Tracy, 980 F.3d at 808 (quotation

marks omitted). “That is not easy to do.” Doe v. Valencia Coll., 903 F.3d 1220,

1232 (11th Cir. 2018). Indeed, “overbreadth challenges are a disfavored mechanism

for invalidating an ordinance.” FF Cosmetics FL, 866 F.3d at 1302. “The fact that

there may be some conceivable impermissible applications is not enough.” Id. at

1303–04.    “[P]erfection is not required to survive an overbreadth challenge.”

Cheshire Bridge Holdings, LLC v. City of Atlanta, 15 F.4th 1362, 1378 (11th Cir.

2021) (quotation marks omitted). Here, Plaintiffs have not clearly carried their

burden to show that the revised policy is facially overbroad. “As the party with ‘the

burden of demonstrating, from the text of the law and from actual fact, that

substantial overbreadth exists,’ Plaintiff has not shown ‘a realistic danger that the

                                          24
     Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 29 of 34




statute itself will significantly compromise recognized First Amendment protections

of parties not before the Court.’” Tracy, 980 F.3d at 810 (quoting Valencia Coll.,

903 F.3d at 1232) (emphases in Tracy).

      UF’s conflicts policy applies to both speech and non-speech outside activities,

including, as an example of the latter, “holding a parttime job with another

employer.” Ex. 1 to Second Fuller Decl., Policy on Conflicts ¶ 3. Under the revised

policy, “comments, including those to the media, are not reportable as outside

activities when made by faculty and staff in their capacities as individual citizens

and not on behalf of another person or entity.” Ex. 11 to Fuller Decl. (Doc. 23-1 at

pg. 221). Such “comments on matters of public concern become reportable outside

activities, subject to university review for potential conflicts of interest or conflicts

of commitment … when faculty and staff seek to testify as expert witnesses on behalf

of a party in litigation.” Id. But the “strong presumption” applies that UF will

approve such requests, and UF faces a “heavy burden” to overcome it. Id. This is

so even if the faculty member is testifying in support of a litigant adverse to the State

of Florida and “regardless of the viewpoint” of the faculty member’s testimony. Id.

The revised policy is not facially overbroad. Cf. Tracy, 980 F.3d at 808 (rejecting

as “meritless” Professor Tracy’s argument that the reporting requirement of FAU’s

conflicts policy was facially overbroad).




                                            25
       Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 30 of 34




III.    THE REMAINING PRELIMINARY INJUNCTION FACTORS DO
        NOT SUPPORT RELIEF.
        The third and fourth factors in the injunction analysis—the balance of harms

and public interest—may be considered together in suits against public defendants.

See Swain, 961 F.3d at 1293 (citing Nken v. Holder, 556 U.S. 418, 435 (2009)).

        Plaintiffs have not clearly demonstrated that they will be harmed absent an

injunction or that the public interest would not be harmed by an injunction. Because

they have not shown that they will suffer any harm without an injunction, it cannot

be said that harm to them exceeds the harm to Defendants from an injunction. But

it would harm UF to bring to a halt all enforcement of its revised conflicts policy.

        Conflict of interest policies are common because they serve important public

and university interests. See, e.g., Tracy, 980 F.3d 799 (involving FAU’s conflicts

policy). Under its conflicts policy, “The University of Florida encourages its Faculty

and Staff to engage in activities supporting their professional growth, creating new

knowledge and ideas, and furthering the University’s mission of excellence in

education, research, and service.” UF Regulation 1.011(1), Ex. 2 to Fuller Decl.

(Doc. 23-1 at pg. 186). The policy explains that “University employees, however,

have an obligation to commit their primary professional time and intellectual energy

to the University and maintain the highest ethical and professional standards.” Id.

UF’s conflicts policy thus serves legitimate and important interests. Granting to

each of the hundreds of full-time UF faculty members a free pass to moonlight in

                                         26
    Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 31 of 34




any way they want and whenever they want—even if serious conflicts issues or

violations of ethics laws result—would disserve the public interest. On this score,

Defendants object to Plaintiffs’ proposed preliminary injunction on the ground that

it is overbroad and inappropriate. It would enjoin the enforcement of UF’s revised

conflicts policy as to “any” UF faculty member, not just the Plaintiffs themselves.

Mot. 34 (Doc. 30).

      Finally, the three original Plaintiffs are bound by a collectively bargained

policy agreed to by their union. Enforcing that bargain struck between labor and

management is in the public interest.

                                 CONCLUSION
      For the foregoing reasons, as well as those stated in Defendants’ motion to

dismiss, Plaintiffs’ preliminary injunction motion should be denied, and Defendants’

motion should be granted.




                                        27
    Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 32 of 34




                                     Respectfully submitted,

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                                   28
    Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 33 of 34




         CERTIFICATION PURSUANT TO LOCAL RULE 7.1(F)

      Pursuant to Local Rule 7.1(F), I certify that foregoing is in compliance with

the Court’s word limit. According to the word processing program used to prepare

this memorandum, the document contains 6,708 words, excluding those portions

exempted under the Rule.


                                         /s/ H. Christopher Bartolomucci
                                         H. Christopher Bartolomucci
    Case 1:21-cv-00184-MW-GRJ Document 43 Filed 12/17/21 Page 34 of 34




                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing was filed in the

Court’s CM/ECF system this 17th day of December, 2021, and thereby served on all

counsel of record.



                                          /s/ H. Christopher Bartolomucci
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                                        30
